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 8                   United States District Court
 9                   Central District of California
10                        Western Division
11

12    KEITH THORNTON,                                  CV 16-08482 TJH (AGRx)
13                       Plaintiff,
14          v.
                                                                 Order
15    COUNTY OF LOS ANGELES, et al.,
                                                                    [43]
16                       Defendants.
17

18         The Court has considered Defendants’ motion for partial summary judgment and
19   Plaintiff Keith Thornton’s motion to extend the discovery cut-off date, together with the
20   moving and opposing papers.
21         Defendant Daisy Cruz, a social worker at Defendant Los Angeles County
22   Department of Children and Family Services [“DCFS”], removed three minor foster
23   children from Thornton’s care. Thornton, subsequently, filed this 42 U.S.C. § 1983
24   action against: (1) Cruz; (2) Carol Porras, Cruz’s supervisor; (3) DCFS; and (4) The
25   County of Los Angeles [“the County”] [collectively, “DCFS Defendants”]. Thornton
26   alleged: (1) A § 1983 claim for a violation of the Equal Protection Clause against Cruz
27   and Porras; and (2) Municipal liability, pursuant to Monell v. Dep’t of Soc. Servs. Of
28   City of N.Y., 436 U.S. 658 (1978), against the County and DCFS.

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 1         On July 12, 2018, one of Thornton’s three attorneys noticed the depositions of
 2   Cruz and Porras for July 30, 2018. The DCFS Defendants objected to the dates. On
 3   August 17, 2018, the Court approved the parties’ stipulation to continue, inter alia, the
 4   discovery cut-off date to April 4, 2019. Thornton failed to notice or re-notice any
 5   further depositions. Neither Cruz nor Porras were deposed.
 6         On March 25, 2019, the DCFS Defendants moved for summary judgment. On
 7   April 4, 2019, Thornton filed his opposition to that motion for summary judgment. On
 8   May 30, 2019, Thornton moved to reopen discovery.
 9

10   Motion to Reopen Discovery
11         Thornton argued that the Court should reopen discovery because he would be
12   prejudiced, especially given the DCFS Defendants’ pending motion for summary
13   judgment, if he “has no chance to take [Cruz’s and Porras’s] oral testimony.”
14   However, it appears to the Court that if there is any prejudice here, it was created by
15   Thornton and his counsel.
16         Despite the fact that Thornton’s first attempt to notice Cruz’s and Porras’s
17   depositions was unsuccessful, he failed to re-notice their depositions in the eight months
18   between his first attempt and the extended discovery cut-off date. Further, Thornton
19   could have, but chose not to, file a motion to compel Cruz’s and Porras’s depositions.
20   To the extent that Thornton attempted to argue that this situation is based on one of his
21   attorneys’ withdrawal from the case, that argument is unavailing. Thornton was, and
22   is, represented by other attorneys from the same firm.
23         Moreover, the timing of Thornton’s pending motion to reopen discovery
24   undercuts his argument that he would be prejudiced with regard to the pending motion
25   for summary judgment. Thornton filed his motion to reopen discovery almost two
26   months after he filed an opposition brief to the motion for summary judgment – if
27   Thornton was concerned about prejudice, he should have acted sooner. Indeed,
28   Thornton’s own inactions created this situation, and he failed to establish good cause

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 1   to reopen discovery.
 2         To the extent that Thornton’s motion can be construed as a request under Fed.
 3   R. Civ. P. 56(d), Thornton failed to specify what facts he is seeking or how those facts
 4   would be essential to oppose the summary judgment motion. See Midbrook v. Holland,
 5   874 F.3d 604, 619-620 (9th Cir. 2017).
 6         Thornton had ample opportunity to depose Cruz and Porras, and could have
 7   timely sought relief, but failed to do so. Accordingly, the motion to reopen discovery
 8   must be denied.
 9

10   Motion for Summary Judgment
11         When considering a motion for partial summary judgment, where the nonmoving
12   party has the burden of proof at trial on a claim or issue, as Thornton does here,
13   summary judgment should be granted when the nonmoving party fails to produce
14   evidence to establish a prima facie case. See Celotex Corp. v. Catrett, 477 U.S. 317,
15   322, (1986). The moving party, however, has the initial burden to show that the
16   nonmoving party does not have enough evidence to establish a prima facie case. See
17   Williams v. Gerber Prods. Co., 552 F. 3d 934, 938 (9th Cir. 2008). The DCFS
18   Defendants have met their initial burden. Thus, the burden shifts to Thornton to
19   establish, with admissible evidence, a prima facie case. See Celotex, 477 U.S. at 322.
20   At this juncture, the Court may not weigh the evidence or make credibility
21   determinations. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986).
22   Further, Thornton’s evidence must be believed and all justifiable inferences must be
23   drawn in his favor. See Liberty Lobby, 477 U.S. at 255.
24         Thornton argued that Cruz discriminated against him based on his race, sexual
25   orientation, religious views, or any combination of those three categories, in violation
26   of the Equal Protection Clause, and that Porras ratified Cruz’s discriminatory behavior.
27         Thornton may establish his Equal Protection claim by proving either: (1) Cruz
28   intentionally treated him differently than other similarly situated individuals without a

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 1   rational basis [“Class of One Theory”], Gerhart v. Lake Cty., Mont., 637 F.3d 1013,
 2   1022 (9th Cir. 2011); or (2) Cruz intentionally discriminated against him based on his
 3   membership in a protected class [“Protected Class Theory”]. See Khurana v. North
 4   Cent. Dist. Health Dept., 605 F. App’x. 677, 678-679 (9th Cir. 2015).
 5         Thornton failed to provide any evidence of similarly situated individuals who
 6   were treated differently and, therefore, failed to sustain his burden with regard to the
 7   Class of One theory of his Equal Protection claim. See Teresi Investments III v. City
 8   of Mountain View, 609 F. App’x. 928, 931 (9th Cir. 2015).
 9         To prove that Cruz intentionally discriminated against him based on his
10   membership in a protected class, Thornton must produce evidence sufficient to permit
11   a reasonable trier of fact to find by a preponderance of the evidence that his
12   membership in a protected class motivated Cruz’s decision to remove the foster
13   children. See Bingham v. City of Manhattan Beach, 341 F.3d 939, 949 (9th Cir.
14   2003). Cruz declared that she removed the foster children from Thornton’s care
15   because the children accused Thornton of physically abusing them. However, Thornton
16   provided Los Angeles Deputy Sheriff Mike Becker’s report – which, although
17   improperly authenticated, may be admissible at trial, see Fed. R. Civ. P. 56 advisory
18   comm. note – where Becker concluded that the children were not abused and that their
19   bruises were not consistent with their abuse allegations. Because the Court must
20   believe Thornton’s evidence, and draw all reasonable inferences in his favor, an
21   inference must be drawn that the children were not abused and that Cruz’s true
22   motivation was discriminatory. See Liberty Lobby, 477 U.S. at 255. Given that the
23   Court cannot make credibility determinations or weigh the evidence at this stage,
24   Thornton made a minimally sufficient prima facie case for his Equal Protection claim
25   under a Protected Class Theory. See Bingham, 341 F.3d at 949.
26         However, Thornton failed to meet his burden with regard to Porras because he
27   failed to set forth any evidence to substantiate his conclusory allegation that Porras
28   ratified Cruz’s actions. See Celotex, 477 U.S. at 322.

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 1         Further, Thornton failed to set forth any evidence or argument that this
 2   constitutional violation resulted from any of the County’s or DCFS’s policies, practices,
 3   or customs. See Christie v. Iopa, 176 F.3d 1231, 1235-1236 (9th Cir. 1999). A
 4   single constitutional deprivation ordinarily is not sufficient to establish a practice or
 5   custom. See Christie, 176 F.3d at 1235. Consequently, Thornton failed to establish
 6   a prima facie case for Monell liability. See Celotex, 477 U.S. at 322.
 7

 8         Accordingly,
 9

10         It is Ordered that the motion for partial summary judgment be, and hereby is,
11   Granted as to Porras, the Monell claim against the County and DCFS, and Thornton’s
12   Equal Protection claim against Cruz based on a Class of One Theory.
13

14         It is further Ordered that the motion for partial summary judgment be, and
15   hereby is, Denied with as to Thornton’s Equal Protection claim against Cruz based on
16   a Protected Class Theory.
17

18   Date: June 21, 2019
19                                              __________________________________
20                                                     Terry J. Hatter, Jr.
21
                                                Senior United States District Judge

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